Case: 4:97-cr-00141-ERW Doc. #: 615 Filed: 08/23/01 Page: 1 of 2 PagelD #: 1

UNITED STATES COURT OF APPEALS

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FOR THE EIGHTH CIRCUIT
UG 23 2001
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No. 98-2549 eesreRN DISTRICT OF MO
United States of America, *
~ OIGRMIERW
Appellee, *
* Appeal from the United States
vs. * District Court for the
* Eastern District of Missouri
Billie Jerome Allen, *
Appellant. *
JUDGMENT

This appeal from the United States District Court was submitted on
the record of the district court, briefs of the parties and was argued
by counsel.

After consideration, it is hereby ordered and adjudged that the
judgment of the district court in this cause is affirmed in accordance
with the opinion of this Court.

(5172-010199)
April 12, 2001

A true copy.

sores: Khjchrek C.Qee

CLERK, U.S. COURT OF APPEALS, EIGHTH CIRCUIT.

MANDATE ISoucu MANDATE 'Solicd

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